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____________________________________________________________________________
                                                    SO ORDERED,




                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________




                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: EURNELL HOYLE                                                  CHAPTER 13

DEBTOR                                                                CASE NO. 21-10176 JDW

           ORDER SUSPENDING CHAPTER 13 PLAN PAYMENTS [Dkt. #70]

       This matter came on for consideration of the Motion of the Debtor, Eurnell Hoyle,

requesting the issuance of an order suspending his plan payments for 1 (one) month, and no

response or objections being filed by the deadline set by the Court, the Court finds that just cause

exist for the entry of the following order:

        IT IS, THEREFORE, ORDERED that Debtor’s Chapter 13 Plan payment is suspended

for the month of April, 2022.

       IT IS FURTHER ORDERED that the post-petition mortgage payment arrears for April,

2022, shall be paid on an altered basis over the remaining term of the plan, as amended, with the

regular maintenance payments to resume with the May, 2022 payment.

       IT IS FURTHER ORDERED that money received by the Trustee, if any, from Debtor

during the 1 (one) month suspension shall be refunded to the Debtor.
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       IT IS FURTHER ORDERED that the Trustee shall amend the Debtor’s wage order as

necessary to comply with this order.

       IT IS FURTHER ORDERED that within 30 (thirty) days of the end the of the suspension

period the Debtor would shall resume payments or file a motion seeking additional relief, failing

which, the case may be dismissed.

                                       #ENDOFORDER#


PREPARED BY:

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